           Case 1:06-mc-10427-PBS Document 10 Filed 05/16/07 Page 1 of 3



                           UNITED STATES DISTRICT COURT

                            DISTRICT OF MASSACHUSETTS

     UNITED STATES OF AMERICA             )
                                          )
                      v.                  )    DOCKET NO.: 06-10427
                                          )
     JEFFREY SHIELDS                      )
                                          )
     UNITED STATES OF AMERICA             )
                                          )
                      v.                  )    DOCKET NO.: 06-10439
                                          )
     JOEL WETMORE                         )
                                          )
     UNITED STATES OF AMERICA             )
                                          )
                      v.                  )    DOCKET NO.: 06-10449
                                          )
     CHARLES PEAVY                        )
                                          )


                        DEFENDANTS’ MOTION TO DISMISS

       Defendants respectfully move to dismiss the commitment

proceedings in the above-captioned matters.             In support of this

motion, defendants assert that the Jimmy Ryce Civil Commitment

Program (hereinafter “the Act”), enacted as part of the Adam

Walsh Child Protection and Safety Act of 20061 and codified at

Title 18, Sections 4247 and 4248, is unconstitutional for the

following reasons:

I.     The Act exceeds Congress’ authority under Article I, Section
       8 and is inconsistent with the Tenth Amendment;

II.    The Act denies defendants equal protection of the laws;



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               42 U.S.C. § 16901, et. seq.
       Case 1:06-mc-10427-PBS Document 10 Filed 05/16/07 Page 2 of 3



III. The Act subjects defendants to criminal proceedings without
     providing required constitutional protections;

IV.   The Act denies defendants due process of law by failing to
      provide necessary procedural protections;

V.    The Act denies defendants due process of law and
      illegitimately delegates legislative authority by failing to
      adequately define key terms; and

VI.   The Act denies defendants due process of law because the
      expert testimony it requires is insufficiently reliable to
      provide the clear and convincing evidence needed for
      commitment as a sexually dangerous person.


      See attached Memorandum of Law, Affidavit of Daniel

Kriegman, Ph.D., and Exhibits 1-12.

      Accordingly, the commitment proceedings should be dismissed.

                                  JEFFREY SHIELDS
                                  JOEL WETMORE
                                  CHARLES PEAVY
                                  By their attorneys,


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                                    -2-
      Case 1:06-mc-10427-PBS Document 10 Filed 05/16/07 Page 3 of 3




                       CERTIFICATE OF SERVICE

     I hereby certify that this document filed through the ECF
system will be sent electronically to the registered participants
as identified on the Notice of Electronic Filing (NEF) and paper
copies will be sent to those indicated as non registered
participants on May 16, 2007.

                                        /s/ Page Kelley
                                       Page Kelley
